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                  IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA


IN RE: Randy J. Spencer,                  )             Bankruptcy No.: 24-10166-JCM
                                          )
            Debtor.                       )             Chapter 13
_________________________________________ )
                                          )
      Township of Cranberry,              )             Document No.
                                          )
            Movant,                       )             Related to Document No.: 44
                                          )
      v.                                  )
                                          )             Hearing Date and Time:
      Randy J. Spencer,                   )             July 16, 2024, at 10:30 a.m.
                                          )
            Respondent.                   )

 DEBTOR’S RESPONSE TO MOTION FOR RELIEF FROM THE AUTOMATIC STAY

       AND NOW, comes the Debtor, Randy J. Spencer (“Debtor”), by and through his counsel
Brian C. Thompson, Esquire, Thompson Law Group, P.C. files the within Response to Movant’s
Motion for Relief from the Automatic Stay, and avers as follows:
       1.     Admitted.

       2.     Admitted.

       3.     Admitted.

       4.     Admitted.

       5.     Admitted.

       6.     Admitted.

       7.     Admitted.

       8.     Admitted.

       9.     Denied. Debtor contends has moved the motor vehicles from the 4110 Deep

Hollow Road, Franklin, Pennsylvania 16232 property in compliance with the Property

Maintenance Code.
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       10.     Admitted in part. Debtor is currently unsure of the exact distance of the Creek

from the property, and from which point of the property Movant is referencing.

       11.     Admitted.

       12.     Admitted.

       13.     Debtor is currently without sufficient information to admit or deny Paragraph 13;

therefore, it is denied, and strict proof thereof is demanded.

       14.     Debtor is currently without sufficient information to admit or deny Paragraph 14;

therefore, it is denied, and strict proof thereof is demanded.

       15.     Debtor is currently without sufficient information to admit or deny Paragraph 15;

therefore, it is denied, and strict proof thereof is demanded.

       16.     Debtor is currently without sufficient information to admit or deny Paragraph 16;

therefore, it is denied, and strict proof thereof is demanded.

       17.     Debtor is currently without sufficient information to admit or deny Paragraph 17;

therefore, it is denied, and strict proof thereof is demanded.

       18.     Debtor is currently without sufficient information to admit or deny Paragraph 18;

therefore, it is denied, and strict proof thereof is demanded.

       19.     Debtor is currently without sufficient information to admit or deny Paragraph 19;

therefore, it is denied, and strict proof thereof is demanded.

       20.     Admitted.

       21.     Admitted in part to the extent that Movant is summarizing and/or paraphrasing the

allegations from the Complaint.

       22.     Admitted.

       23.     No response is required as the document speaks for itself.
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       24.     Admitted.

       25.     Admitted.

       26.     No response is required as the document speaks for itself.

       27.     Denied in part. Debtor asserts that he is in compliance with the Order that

Movants seeks relief to enforce.

       28.     No response is required as the document speaks for itself.

       29.     No response is required as the document speaks for itself.

       30.      Denied in part. Debtor asserts that he is in compliance with the only applicable

Order that Movants seeks relief to enforce.

       31.     No response is required as the document speaks for itself.

       32.     Admitted in part. Debtor has removed the motor vehicles from the property.

       33.     Denied. Debtor is unable to ascertain the time frame and context of the

allegations in paragraph 33 of the Motion. As a result, Debtor is currently without sufficient

information to admit or deny Paragraph 33;

       34.     Denied. See response to paragraph 33.

       35.     Denied. See response to paragraph 33. Strict proof is demanded.

       36.     Debtor is currently without sufficient information to admit or deny Paragraph 19;

therefore, it is denied, and strict proof thereof is demanded.

       37.     Admitted.

       38.     Admitted.

       39.     No response is required as the document speaks for itself.

       40.     Admitted.
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        41.      Denied. Debtor was, and continues to be, in need of bankruptcy relief to deal

with multiple creditors and alleged debt obligations. Nevertheless, the automatic stay is intended

to protect a debtor’s assets and preserve the bankruptcy estate and place a pause on costly

litigation.

        42.      Denied. Debtor contends that he is in compliance with the operable Order for

which Movant seeks relief to enforce, and therefore, there is no need for relief to be granted.

Additionally, Debtor denies the assertion that he blatantly disregarded multiple Court Orders, as

characterized.

        43.      Paragraph 43 appears to be a conclusion of law to which no response is required.

        44.      Paragraph 44 appears to be a conclusion of law to which no response is required.

        45.      Paragraph 45 appears to be a conclusion of law to which no response is required.

        46.      Admitted.

        47       Denied. To the extent that the allegations in paragraph 47 are related to the

        request for relief regarding the Order at issue, and not some other matter, Debtor

        contends that he is in compliance with the Order.

        47.      Denied. See response to paragraph 47.

        48.      Paragraph 45 appears to be a conclusion of law to which no response is required.

        49.      Debtor is currently without sufficient information to admit or deny Paragraph 19;

therefore, it is denied, and strict proof thereof is demanded.

        50.      Admitted.

        51.      Admitted.

        52.      Admitted.
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       53.     Denied. To the extent that the allegations in paragraph 53 are related to the

request for relief regarding the Order at issue, and not some other matter, Debtor contends that he

is in compliance with the Order.

       54.     Admitted.

       55.     Admitted.

       56.     Denied. To the extent that the allegations in paragraph 47 are related to the

request for relief regarding the Order at issue, and not some other matter, Debtor contends that he

is in compliance with the Order.

       57.     See response to paragraph 56. By way of further response, Debtor assets that he

has been pursuing a junkyard license and while he has conditional approval, the responsible

Zoning personnel will not authorize on a final basis, and he is currently seeking relief in the

United States District Court for the Western District of Pennsylvania.

       58.     See response to paragraph 57.

       59.     No response is required as the document speaks for itself.

       60.     Admitted.

       61.     Admitted.

       62.     See response to paragraph 57.

       63.     See response to paragraph 57.

       64.     No response is required as the document speaks for itself.

       65.     Paragraph 65 is a conclusion of law and therefore no response is required.

       66.     Paragraph 66 is a recitation of law and therefore no response is required.

       67.     Paragraph 67 is a recitation of law and therefore no response is required.

       68.     Paragraph 68 is a recitation of law and therefore no response is required.
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       69.     Paragraph 69 is a recitation of law and therefore no response is required.

       70.     Denied. Notwithstanding the volume of history and background between Movant

and Debtor, Movant’s request for relief is strictly related to enforcement of Injunction Order and

whether Debtor is in compliance with that Order. Debtor contends that he is in compliance with

the Order and that the motor vehicles are not located on the property as alleged. Therefore, relief

from the automatic stay is not necessary and no cause for relief has been proven.

       71.     Denied. See response to paragraph 57.

       72.     Denied. See response to paragraph 57.

       73.     Denied. See responses to paragraphs 57 and 70.

       74.     Denied. See responses to paragraphs 57 and 70. By way of further response,

Debtor would be harmed if relief is granted as Debtor will be forced to pay additional and

unnecessary legal fees and costs, and as well as take off additional time for work at a time when

he is attempting to reorganize his debts via this Chapter 13 bankruptcy filing.

       75.     Denied. See responses to paragraphs 41, 57 and 70.

       76.     Denied. See response to paragraph 70.

       77.     Denied. See response to paragraph 70.

       78.     Denied. See response to paragraph 70.

       79.     Denied. See responses to paragraphs 41, 57 and 70.

       80.     Denied. See response to paragraph 70.

       81.     Paragraph 81 is a conclusion of law for which no response is required. To the

extent a response is required, the allegations contained in paragraph 81 are denied and strict

proof is demanded.

       82.     See responses to paragraphs 57 and 70.
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       83.     Denied. See response to paragraph 70.

       84.     Denied. See response to paragraph 70.

       85.     Denied. See response to paragraph 70.

       86.     Denied. See response to paragraph 70. By way of further response, the waiver of

the 14-day appeal period is not supported in law or fact and should therefore be denied.

       WHEREFORE, Debtor respectfully requests that this Honorable Court deny the

Movant’s Motion for Relief from the Automatic Stay.



                                             Respectfully submitted,

Date: June 27, 2024                          /s/ Brian C. Thompson
                                             Brian C. Thompson, Esquire
                                             Attorney for Debtor
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